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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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DR. A., NURSE A., DR. C.,
NURSE D., DR. F., DR. G.,
THERAPIST I., DR. J.,
NURSE J., DR. M.,
NURSE N., DR. O., DR. P.,
DR. S., NURSE S., and
PHYSICIAN LIAISON X.,

                    Plaintiffs,

              -v-                       1:21-CV-1009

KATHY HOCHUL, Governor of
the State of New York, in her
official capacity, MARY T.
BASSETT, Commissioner of the
New York State Department of
Health, in her official capacity,
and LETITIA JAMES, Attorney
General of the State of New York,
in her official capacity,

                    Defendants.

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DAVID N. HURD
United States District Judge

                MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

   On August 26, 2021, the New York State Department of Health adopted

an emergency regulation that required most healthcare workers to be fully

vaccinated against COVID-19. N.Y. COMP. CODES R. & REGS. tit. 10, § 2.61(c)

(2021). New York was far from alone in its decision to implement novel

regulations for certain sectors of its workforce. States all over the country

implemented similar COVID-19 vaccination requirements. So too did the

federal government. Challenges to these new mandates generated a tidal

wave of litigation that quickly washed over the state and federal courts.

   This lawsuit was on the leading edge of the wave. As relevant to this

litigation, § 2.61 eliminated religious exemption language included in the




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State’s first iteration of this emergency regulation. The sixteen 1 plaintiffs

who have filed this suit are medical professionals with a sincere religious

objection to the existing vaccines. They are (or were) employed by hospitals,

nursing homes, and other entities that are subject to § 2.61.

   On September 13, 2021, plaintiffs filed this 42 U.S.C. § 1983 action

against New York State Governor Kathy Hochul (“Hochul”), then-New York

State Health Commissioner Howard A. Zucker (“Zucker”), and New York

State Attorney General Letitia James (“James”). Plaintiffs’ three-count

complaint alleged § 2.61 violates their constitutional rights because it forbids

employers from considering religious exemptions under processes guaranteed

by federal law. Plaintiffs sought to enjoin defendants from enforcing § 2.61

“to the extent it categorically requires health care employers to deny or

revoke religious exemptions from COVID-19 vaccination mandates.”

   On September 14, 2021, this Court issued a temporary restraining order

(“TRO”) to that effect, Dr. A. v. Hochul, 2021 WL 4189533 (N.D.N.Y.) and,

after further briefing from the parties, converted the TRO into a preliminary

injunction on October 12, 2021, Dr. A. v. Hochul, –F. Supp. 3d–, 2021 WL

4734404 (N.D.N.Y.). Because “the issues in dispute [were] of exceptional




   1 The action began with seventeen plaintiffs, but “Technologist P.,” who moved to Florida after
being terminated from her job in New York, has withdrawn as a plaintiff.

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importance to the health and the religious freedoms of our citizens,” the

Court recognized that “an appeal may very well be appropriate.” Id. at *10.

   Defendants agreed with the Court’s assessment. They sought emergency

relief in the Second Circuit, which heard oral argument and then entered an

order vacating the preliminary injunction on October 29, 2021. We The

Patriots USA, Inc. v. Hochul, 2021 WL 5103443 (2d Cir.). Thereafter, the

panel issued an opinion that explained its rationale for granting vacatur. We

The Patriots USA, Inc. v. Hochul, 17 F.4th 266 (2d Cir.) (per curiam), opinion

clarified, 17 F.4th 368 (2d Cir. 2021). Plaintiffs sought rehearing before the

Second Circuit and then petitioned the Supreme Court for certiorari, which

was eventually denied. 142 S. Ct. 552 (mem.) (Dec. 13, 2021).

   On January 30, 2022, plaintiffs filed a first amended verified complaint as

of right. The amended pleading names as defendants Hochul, James, and

replaces Zucker with current New York State Health Commissioner Mary T.

Bassett (“Bassett”), who assumed office after Zucker’s resignation. The first

amended complaint reasserts the three § 1983 official-capacity claims alleged

in the initial pleading. However, the amended complaint also adds two new

claims. In count four, plaintiffs allege § 2.61 is preempted by a COVID-19

vaccination regulation recently issued by the federal government. And in

count five, plaintiffs allege defendants have unlawfully disqualified them

from eligibility for State unemployment insurance benefits.

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   On January 30, 2022, plaintiffs filed a renewed motion for a TRO and a

preliminary injunction based on these two new claims for relief. Plaintiffs

sought to enjoin defendants from enforcing (a) § 2.61 “against their attempts

to seek reinstatement to lost positions under the overriding religious

exemption provisions of the [new federal regulation]”; and (b) “the Governor’s

unemployment benefits disqualification.”

   On January 31, 2022, the Court denied plaintiffs’ request for a TRO but

ordered briefing on their renewed request for a preliminary injunction. The

motion is now fully briefed and will be considered on the basis of the

submissions without oral argument.

II. LEGAL STANDARD

   “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). To win

relief, the movant must ordinarily demonstrate: (1) a likelihood of irreparable

harm; (2) either a likelihood of success on the merits or sufficiently serious

questions as to the merits plus a balance of hardships that tips decidedly in

their favor; (3) that the balance of hardships tips in their favor regardless of

the likelihood of success; and (4) that an injunction is in the public

interest. Page v. Cuomo, 478 F. Supp. 3d 355, 362–63 (N.D.N.Y. 2020).

   However, in cases like this one, where the movants seek to enjoin

government action taken in the public interest pursuant to a statutory or

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regulatory scheme, the less rigorous “serious questions” component of this

legal standard is unavailable. Otoe-Missouria Tribe of Indians v. N.Y. State

Dep’t of Fin. Servs., 769 F.3d 105, 110 (2d Cir. 2014). As the Second Circuit

has explained, “[t]his exception reflects the idea that governmental policies

implemented through legislation or regulations developed through

presumptively reasoned democratic processes are entitled to a higher degree

of deference and should not be enjoined lightly.” Id. (citation omitted).

   Defendants’ opposition memorandum invokes a second exception to the

general rules governing preliminary injunctive relief. Defs.’ Opp’n, Dkt. No.

47-41, 13–14. 2 As defendants correctly note, a heightened standard can also

apply when the requested injunction (1) is “mandatory”; i.e., it will alter the

status quo by compelling some positive action; or (2) “will provide the movant

with substantially all of the relief sought and that relief cannot be undone

even if the defendant prevails at a trial on the merits.” Page, 478 F. Supp. 3d

at 363. When either condition is met, the movant must make a “clear” or

“substantial” showing of a likelihood of success on the merits, and must also

make a “strong showing” of irreparable harm. Id.

   Upon review, however, it is not clear why this heightened requirement

should apply to plaintiffs’ renewed request for injunctive relief. As before,




   2 Pagination corresponds to CM/ECF.


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any injunction entered against the enforcement of § 2.61 would be prohibitory

in nature. See, e.g., Hund v. Cuomo, 501 F. Supp. 3d 185, 207 (W.D.N.Y.

2020). And as before, any injunction could be undone if defendants prevail,

either in an interlocutory appeal or at a trial on the merits. Cf. We The

Patriots, USA, Inc., 17 F.4th at 279 n.13.

   Defendants have not offered any reason why this heightened standard has

been triggered, either. See generally Defs.’ Opp’n. Accordingly, the ordinary

rules applicable to “prohibitory” injunctions will be applied. See, e.g., Hund,

501 F. Supp. 3d at 207 (rejecting application of heightened standard where

plaintiff sought to enjoin application of COVID-19 Executive Order).

III. DISCUSSION 3

   Plaintiffs’ renewed request for injunctive relief relies on the two claims

that are newly asserted in the first amended complaint. In count four,

plaintiffs allege § 2.61 is preempted by a separate COVID-19 vaccination

requirement recently issued by the federal government. And in count five,

plaintiffs allege defendants have disqualified them from eligibility for State

unemployment benefits in violation of their rights under the Free Exercise

Clause.




   3 The parties’ familiarity with the basic background set forth in Dr. A is presumed and will not
be repeated here except to the extent necessary to resolve the pending motion.

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   A. Likelihood of Success on the Merits

   To warrant preliminary injunctive relief, plaintiffs must show a likelihood

of success on the merits of at least one of their constitutional claims. See,

e.g., L.V.M. v. Lloyd, 318 F. Supp. 3d 601, 618 (S.D.N.Y. 2018).

   1. Preemption & the Supremacy Clause

   The Supremacy Clause declares that federal law “shall be the supreme

Law of the Land . . . any Thing in the Constitution or Laws of any State to

the Contrary notwithstanding.” U.S. Const. Art. VI, cl 2.

   Although it “is not the source of any federal rights and certainly does not

create a cause of action,” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S.

320, 324–25 (2015) (cleaned up), the Supreme Court has long recognized that

“if an individual claims federal law immunizes him from state regulation, the

court may issue an injunction upon finding the state regulatory actions

preempted,” id. at 326 (citing Ex parte Young, 209 U.S. 123, 155–56 (1908)).

   “In general, three types of preemption exist: (1) express preemption, where

Congress has expressly preempted local law; (2) field preemption, where

Congress has legislated so comprehensively that federal law occupies an

entire field of regulation and leaves no room for state law; and (3) conflict

preemption, where local law conflicts with federal law such that it is

impossible for a party to comply with both or the local law is an obstacle to



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the achievement of federal objectives.” N.Y. SMS Ltd. P’ship v. Town of

Clarkstown, 612 F.3d 97, 104 (2d Cir. 2010) (cleaned up).

   Plaintiffs’ renewed motion for injunctive relief asserts “conflict” and “field”

theories of preemption based on the impact of a federal COVID-19 regulation

issued by the U.S. Department of Health and Human Services (“HHS”) after

the Second Circuit issued its opinion in We The Patriots USA, Inc. v. Hochul.

   Effective on November 5, 2021, HHS issued an interim final rule that

requires healthcare facilities that participate in the federal Medicare and

Medicaid programs to ensure that their covered staff are fully vaccinated

against COVID-19. 86 Fed. Reg. 61555–61627 (2021). The parties jointly

refer to this interim final rule as the “CMS Mandate.”

   The CMS Mandate includes a section entitled “vaccine exemptions.” 86

Fed. Reg. at 61572. This section of the CMS Mandate acknowledges there

are “Federal laws, including the ADA, section 504 of the Rehabilitation Act,

section 1557 of the ACA, and Title VII of the Civil Right Act, that prohibit

discrimination based on race, color, national origin, religion, disability and/or

sex, including pregnancy.” Id.

   The CMS Mandate recognizes that “in some circumstances, employers

may be required by law to offer accommodations for some individual staff

members.” 86 Fed. Reg. at 61572. Accordingly, the CMS Mandate requires

covered healthcare facilities to “establish and implement a process by which

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staff may request an exemption from COVID-19 vaccination requirements

based on an applicable Federal law.” Id. at 61572.

   The CMS Mandate states that it is intended to “preempt[ ] State and local

laws to the extent the State and local laws conflict with this rule.” 86 Fed.

Reg. at 61613. However, this preemption provision is limited to “any State or

local law providing for exemptions to the extent such law provides broader

grounds for exemptions than provided for by Federal law.” Id.

   Plaintiffs argue that § 2.61 is preempted because it directly conflicts with

the CMS Mandate. In plaintiffs’ view, § 2.61 “prohibits exactly what the

CMS Mandate requires”; i.e., the CMS Mandate contemplates “exemptions”

in appropriate cases even though the Second Circuit’s construction of § 2.61

categorically forbids them. We The Patriots USA, Inc., 17 F.4th at 292

(“Section 2.61 does not require employers to violated Title VII because,

although it bars an employer from granting a religious exemption from the

vaccination requirement, [but] it does not prevent employees from seeking a

religious accommodation . . . .”).

   Upon review, plaintiffs have failed to establish that they are likely to

succeed on the merits of this conflict preemption claim. As an initial matter,

there is a general presumption against a finding of preemption under the

Supremacy Clause when it comes to “state or local regulation of matters



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related to health and safety.” Hillsborough Cnty., Fla. v. Automated Med.

Laboratories, Inc., 471 U.S. 707, 715 (1985).

   Plaintiffs emphasize that the State’s implementation of § 2.61 instigated

the healthcare staffing crisis that soon led Governor Hochul to declare a state

of emergency. That may be true. But whether or not it represents sound

public policy, § 2.61’s vaccination requirement falls within the State’s

traditional regulatory role on matters of health and safety. See Lutterloh

Decl., Dkt. No. 47. Under those circumstances, the Supreme Court has

warned that preemption “is not to be lightly presumed.” Cal. Fed. Sav. &

Loan Ass’n v. Guerra, 479 U.S. 272, 281 (1987).

   To be sure, plaintiffs are correct that the CMS Mandate speaks in terms of

both “accommodation” and “exemption.” And plaintiffs are also correct to

note that the recent Supreme Court opinion that rejected a pair of challenges

to the validity of the CMS Mandate referred to “exemptions” rather than

“accommodations.” Biden v. Missouri, 142 S. Ct. 647 (2022).

   But these features of the CMS Mandate and its accompanying litigation

fall far short of establishing a likelihood of success on the merits of a conflict

preemption claim. Notably, Biden v. Missouri involved a challenge to the

HHS Secretary’s authority to issue the CMS Mandate in the first

instance. Although the Supreme Court’s opinion made reference to the fact



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that the CMS Mandate includes “exemption” language, the Court did not

consider the question of religious accommodation at all.

   Absent a direct ruling on that particular legal issue, the Second Circuit’s

pre-existing conclusion; i.e., that § 2.61 “does not require employers to violate

Title VII” despite forbidding “exemptions,” must still control. Cf. Fogel v.

Chestnutt, 668 F.2d 100, 109 (2d Cir. 1981) (enumerating circumstances in

which intervening ruling might warrant departure from the law of the case).

   Nor does the text of the CMS Mandate explicitly require the availability of

exemptions for religious objectors. Instead, the CMS Mandate “recognize[s]”

that “[c]ertain allergies, recognized medical conditions, or religious beliefs,

observances, or practices may provide grounds for exemption” under “existing

Federal law.” Based on that recognition, the CMS Mandate instructs covered

employers to “establish and implement a process by which staff may request

an exemption based on an applicable Federal law.” The Mandate further

instructs covered employers to comply with all applicable anti-discrimination

laws, including Title VII, in deciding whether they are “required by law to

offer accommodations for some individual staff members.”

   Of course, Title VII requires covered employers to reasonably

accommodate an employee’s sincerely held religious beliefs. While an

employer is not obligated to act in a manner that poses an “undue hardship”

on its business, 42 U.S.C. § 2000e(j), state or local laws that “purport to

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require or permit” the commission of an unlawful act are not a valid defense

to a Title VII claim, § 2000e-7. Thus, it may well be that an employer’s

categorical refusal to consider an exemption (as opposed to some other form of

accommodation) could be shown to violate a religious objector’s federal rights.

   However, the remedy for that harm would most likely be found in filing a

properly exhausted Title VII claim. Nowhere does the text of the CMS

Mandate express a requirement that an employee with a sincere religious

objection be provided an exemption instead of some other accommodation,

whether under Title VII or any other federal anti-discrimination law. To the

contrary, the CMS Mandate repeatedly emphasizes that, whatever path the

employer chooses to take with a particular employee’s request, it must be

sure to comply with applicable federal law, including Title VII.

   Nor can plaintiffs establish a likelihood of success on the merits of their

field preemption claim. The CMS Mandate has an explicit-but-limited

preemption provision: “to the extent that State-run facilities that receive

Medicare and Medicaid funding are prohibited by State or local law from

imposing vaccine mandates on their employees, there is direct conflict

between the provisions of this rule (requiring such mandates) and the State

or local law (forbidding them).”

   In other words, the CMS Mandate does not preempt the field of healthcare

vaccination requirements. Instead, the CMS Mandate preempts only those

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state or local laws that afford broader from the vaccine requirement than are

permitted or required under federal law. The limited reach of this provision

makes sense in light of the fact that the Medicaid and Medicare programs are

administered by the state and federal governments through “a cooperative

program of shared financial responsibility.” Rebaldo v. Cuomo, 749 F.3d 133,

139 (2d Cir. 1984).

   A much more robust showing would be required to permit the conclusion

that the CMS Mandate was intended to preempt the field and displace state

law in this area. See, e.g., N.Y. City Health & Hosps. Corp. v. WellCare of

N.Y., Inc., 801 F. Supp. 2d 126, 141 (S.D.N.Y. 2011) (“Field preemption occurs

where Congress has legislated so comprehensively that federal law occupies

an entire field of regulation and leaves no room for state law.”).

   In sum, plaintiffs have failed to establish a likelihood of success on the

merits of either species of their preemption claim. 4 N.Y. SMSA Ltd. P’Ship,

612 F.3d at 104 (citation omitted) (“By their nature, field preemption and

conflict preemption are usually found based on implied manifestations of

congressional intent.”).




   4 Plaintiffs also argue that the CMS Mandate’s “interpretation” of Title VII should be afforded
Chevron deference. Pls.’ Mem. at 20. But that argument must be rejected because, as defendants
point out, the CMS Mandate does not contain any such interpretation. Instead, it refers employers
to the EEOC, the federal agency tasked with administering Title VII.

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   2. The Free Exercise Clause

   Alternatively, plaintiffs argue that the State has imposed a rule forbidding

the provision of unemployment insurance benefits to those terminated for

refusing COVID-19 vaccination. Pls.’ Mem. at 27. According to plaintiffs,

this rule effectively singles out religious objectors for less favorable treatment

in violation of the Free Exercise Clause. Id.

   The Free Exercise Clause “protect[s] religious observers against unequal

treatment” and “laws that impose special disabilities on the basis of religious

status.” Espinoza v. Mont. Dep’t of Revenue, 140 S. Ct. 2246, 2254 (2020)

(citation omitted). And as plaintiffs note, the Supreme Court has on at least

three separate occasions “invalidated state unemployment compensation

rules that conditioned the availability of benefits upon an applicant’s

willingness to work under conditions forbidden by his religion.” Emp. Div.,

Dep’t of Hum. Res. of Or. v. Smith, 494 U.S. 872. 877 (1990).

   Even so, plaintiffs have not established a likelihood of success on the

merits of this claim. As an initial matter, plaintiffs appear to have failed to

name as a defendant the responsible State official for purposes of their

request for equitable relief: state law designates the Commissioner of Labor

as the agent responsible for administration of the State’s unemployment

insurance law. N.Y. LABOR LAW § 530.



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   That issue aside, plaintiffs have failed to establish that any of them have

been or will be denied unemployment benefits on the basis of their sincerely

held religious beliefs. For instance, the operative complaint alleges that:

            Nurse N. applied for unemployment benefits last
            October, but the Department of Labor advised her that
            the [Department of Education] is “examining” her
            claim and that the [Department of Education] will
            decide it—meaning that the claim will be denied under
            defendant Hochul’s announced policy because Nurse
            N. was terminated for refusing vaccination.

Am. Compl. ¶ 230.

   The first half of this paragraph might be a factual allegation, but the

second half is speculation at this juncture. More importantly though, even

assuming one or more plaintiffs were actually denied unemployment

insurance based on their refusal to be vaccinated in accordance with § 2.61,

the burden would then fall on plaintiffs to demonstrate that the State singled

out religious objectors (as opposed to those who might have refused

vaccination on other grounds) to satisfy Smith’s “valid and neutral law of

general applicability” test. In short, plaintiffs have failed to establish a

likelihood of success on the merits of this constitutional claim.




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   B. Irreparable Harm

   Plaintiffs have also failed to demonstrate irreparable harm in the wake of

the Second Circuit’s decision in this litigation. 5 A showing of irreparable

harm is “the single most important prerequisite for the issuance of a

preliminary injunction.” Page, 478 F. Supp. 3d at 363. “To satisfy the

irreparable harm requirement, [the plaintiff] must demonstrate that absent a

preliminary injunction he will suffer an injury that is neither remote nor

speculative, but actual and imminent, and one that cannot be remedied if a

court waits until the end of trial to resolve the harm.” Id.

   Plaintiffs contend that they have shown irreparable harm because their

“monetary losses on account of termination or suspension of admitting

privileges cannot be remedied by money damages, as employers would

arguably be protected by Rule 2.61 and the State is immune to damages

under the Eleventh Amendment.”

   The problem with this argument is that the Second Circuit has already

explicitly rejected it. We The Patriots USA, Inc., 17 F.4th at 295 (“Because

Plaintiffs’ economic harms under Title VII could be remedied with money

damages, and reinstatement is a possible remedy as well, we conclude that

Plaintiffs have failed to demonstrate that they will suffer irreparable harm


   5 Because plaintiffs have failed to show a likelihood of success on the merits, they cannot rely on
the presumption of irreparable harm that would attach to a constitutional claim. We The Patriots
USA, Inc., 17 F.4th at 294.

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absent injunctive relief.”). Although the Second Circuit did note that “this

case raises difficult, apparently unusual questions” about the irreparable

harm element, the panel ultimately declined to “place any weight” on

plaintiffs’ claimed harms for the purpose of awarding preliminary relief. Id.

Accordingly, plaintiffs’ motion for a preliminary injunction must be denied.

IV. CONCLUSION

   Plaintiffs have failed to establish that they are likely to succeed on the

merits of their preemption claims because it is far from clear that the CMS

Mandate conflicts with § 2.61. Plaintiffs have also failed to show irreparable

harm in light of the Second Circuit’s controlling guidance. In short, plaintiffs

have not established that an employer cannot reasonably accommodate a

religious objector in accordance with Title VII, the CMS Mandate, and § 2.61.

   Therefore, it is

   ORDERED that

   Plaintiffs’ motion for a preliminary injunction is DENIED.

   IT IS SO ORDERED.



Dated: February 23, 2022
       Utica, New York.




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